               Case 3:19-cr-00697-PGS                                                  Document 28                                  Filed 12/17/19                         Page 1 of 1 PageID: 77

 CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 07/17)
I. CIR/DIST./ DIV. CODE                        2. PERSON REPRESENTED                                                                                              VOUCHER NUMBER
     District                                   LUIS EDISON CAPELLAN-ORTIZ
3. MAG. DKT./DEF. NUMBER                                      4. DIST. DKT./DEF. NUMBER                                            5. APPEALS DKT./DEF. NUMBER                           6. OTHER DKT. NUMBER
                                                               Cr._19-697-(020_(PGS)
7. IN CASE/MATTER OF                     8. PAYMENT CATEGORY
                                 (Case Name)                                                                                       9. TYPE PERSON REPRESENTED                             10. REPRESENTATION TYPE
                                         ‘ Felony         El Petty Offense                                                         L’ Adult Defendant    El Appellant                          (See Instructions)




  USA LUIS ORTIZ                         El Misdemeanor   El Other                                                                 El Juvenile Defendant El Appellee                      SR
                 .                       El Appeal                                                                                 El    Other
11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section)                              If more   than   one   offense,   list (up   to five)   major offenses charged,   according to   severity of offense.
     21 :846 Drug Conspiracy                         I and 21 :841 (a)(1)& (b)(1)(A) & 18:2 Distribution of Fentanyl 2
12. ATTORNEY’S NAME               (First Name,      MI.,     Last Name,       including any suffix),                               13. COURT ORDER
    AND MAILING ADDRESS                                                                                                             El 0 Appointing Counsel                              El C Co-Counsel
                                                                                                                                    R F Subs For Federal Defender                        El R Subs For Retained Attorney
 PERRY PRIMAVER ESQ.                                                                                                                El P Subs For Panel Attorney                         El Y Standby Counsel
 25 MAIN STREET, COURT PLAZA NORTH SUITE 104
                                                                                                                                   PriorAttorney’s                DAVID HOLMAN, AFPD
 HACKENSACK NJ 07601
                                                                                                                                       Appointment Dates:              12/16/2019
                                                                                                                                    Eli Because the above-named person represented has testified under oath or has otherwise
         Telephone Number:                                   ‘201 1 961 —5036
                                                                                                                                   satisfied this Court that he or she ( I) is financially unable to employ counsel and (2) does
                                                                                                                                   not wish to waive counsel, and because the interests ofjustice so require, the attomey whose
14. NAME AND MAILING ADDRESS OF LAW FIRM                                     (Only provide per     instructions)                   name appears in Item 12 is appointed to represent this person in this case, OR
                                                                                                                                    El Other (See s ctions)
                                    SAME                                                                                                                   p
                                                                                                                                                            Signature of Presiding Judge or By Order of the Court

                                                                                                                                                          12/17/2019
                                                                                                                                                   Date of Order                               Nunc Pro Tunc Date
                                                                                                                                   Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                                                   appointment.        El YES      El NO

                             CLAIM FOR SERVICES AND EXPENSES                                                                                                               FOR COURT USE ONLY
                                                                                                                                               TOTAL               MATH/TECH.   MATH/TECH.
                                                                                                                                                                                           ADDmONAL
          CATEGORIES        (Attach itemization of     services     with dates)                                                               AMOUNT                ADJUSTED     ADJUSTED
                                                                                                             CLAIMED
                                                                                                                                              CLAIMED                HOURS       AMOUNT
15        a Arraignment and/or Plea                                                                                                                                                                      0 00
          b Bail and Detention Heanngs                                                                                                                                                                   0 00
          c Motion Hearings                                                                                                                                                                              000
          d. TnaI                                                                                                                  .j
          e Sentencing Hearings                                                                                                                                                                          ooO
          f Revocation Heanngs                                                                                                                                                                           000
          g. Appeals Court                                                                                                                                                                      ..




          h. Other (Specfy on additional sheets)                                                                                                                                         :.

          (RATE PER HOUR = $                               ) TOTALS:                                                       0.00                           0.00                0.00
                                                                                                                                                                                                         -      I
16        a Interviews and Conferences                                                                                                  _______________




          b Obtaining and reviewing records                                                                                                                                                                     I
          c Legal research and bnefwnting                                                                                               ‘P 1tWt* 0 00                                                           I

     ‘    d. Travel time                                                                                                                                  0.00
          e. Investigative and other work (Specpry on additional sheets)                                                                                  0.00
          (RATE PER HOUR = $                                         )       TOTALS:                                       0.00                           0.00                0.00                       0.00
I7        Travel Expenses   (lodging,   parking,    meals,   mileage,       etc.)



18.       Other Expenses    (other than   expert,   transcrit.s’,   etc.)




GRAND TOTALS (CLAIMED AND ADJUSTED)                                                                                                               000                                                   000
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                                                           20. APPOINTMENT TERMINATION DATE                               21. CAsE DISPOSITION
                                                                                                                                            IF OThER THAN CASE COMPLETION
         FROM:                                                      TO:
22. CLAIM STATUS                          El Final Payment                          El Interim Payment Number                                                           El Supplemental Payment
         Have you previously applied to the court for compensation and/or reimbursement for this case?                                  El YES       El    NO      If yes, were you paid?    El YES El NO
         Other than from the Court, have you, or to your knowledge has anyone else, received payment                               (compensation or anything of value)      from any other source in connection with this
         representation? El YES        El NO           If yes, give details on additional sheets.
         I swear or affirm the truth or correctness of the above statements.
         Signature of Attomey                                                                                                                                               Date

rE                                                                    APPROVED FOR PAYMENT                                              —   COURT USE ONLY
23. IN COURT COMP.                          24. OUT OF COURT COMP.                         25. TRAVEL EXPENSES                                26. OTHER EXPENSES                         27. TOTAL AMT. APPR./CERT.
                                                                                                                                                                                          $0.00
28. SIGNATURE OF THE PRESIDING JUDGE                                                                                                          DATE                                       28a. JUDGE CODE

29. IN COURT COMP.                          30. OUT OF COURT COMP.                         31. TRAVEL EXPENSES                                32. OTHER EXPENSES                         33. TOTAL AMT. APPROVED
                                                                                                                                                                                          $0.00
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                                                                 DATE                                       34a. JUDGE CODE
            the statutoly threshold amount.
      in excess of
